The matter is before us for determination upon relator's motion for a peremptory writ notwithstanding respondent's Return.
It appears by the alternative writ that respondent has exacted of relator chain store taxes as follows:       YEAR           TAX         PENALTY         TOTAL
       1941          $270.00       $286.60       $556.60
       1942           270.00        221.40        491.40
       1943           260.00        150.80        410.80
       1944           320.00        108.80        428.80
       1945           320.00         32.00        352.00
                   ---------       -------     ---------
                    $1440.00       $799.60      $2239.60

That the relator made its returns to the Comptroller on July 1st of the respective years; that respondent made the foregoing exactions on January 11, 1946, when the limitation on the Comptroller therefor is eighteen months from the time of making such returns.
It therefore appears that the foregoing exactions of $320.00 for tax and $32.00 as a penalty were lawful but that the exactions for a time prior to the eighteen months were unauthorized.
Wherefore it is ordered that a peremptory writ issue for the amounts stated except those for the year of 1945.
THOMAS, C. J., BUFORD and ADAMS, JJ., concur.